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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                             Case No.: 0:15-cv-61081-BLOOM/VALLE

 STEPHEN REGAL, GIANNA HILLIS,
 and MATTHEW WILLIAMS,
 individually and on behalf of all other
 similarly situated individuals,

         Plaintiffs,
 v.

 BUTLER & HOSCH, P.A.,

       Defendant.
 ________________________________________/

                       JOINT STATEMENT REGARDING SETTLEMENT

           The Parties, through counsel, and pursuant to this Court’s Order [DE 72] hereby file this

 statement regarding settlement and state as follows:

           Pursuant to an agreement of the parties, Butler & Hosch, P.A. (“B&H”) has agreed that

 it will not oppose Plaintiffs’ Motion for Class Certification [DE 71] and the summary judgment

 motion that Plaintiffs intend to file shortly.

           The parties intend that, following class certification and the entry of a judgment in the

 instant action, that Plaintiffs counsel will seek to satisfy the judgment entered in the instant action

 through a recovery to Plaintiffs and Class Members in the related Assignment for the Benefit of

 Creditors action in state court ("ABC").

           B&H has agreed to cooperate with Plaintiffs to maximize the recovery of monies in the

 ABC.

           Plaintiffs respectfully request that the Court decide the motion for class certification first.

 Following the certification of a class, Plaintiffs will provide court-approved notice to class




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 members. Upon the completion of the court-approved notice plan, Plaintiffs request that the court

 decide the summary judgment motion.

             The parties have agreed that if class certification and summary judgment are entered, the

 Plaintiffs will seek court approval of a class wide settlement. The parties have agreed that Plaintiffs

 and Class Members would provide a release of the litigated claims to B&H and Robert Hosch, Jr.

 individually. Plaintiffs will seek court approval of this proposed settlement term.

             The parties intend to continue discussing these unresolved issues following the

 adjudication of class certification and summary judgment. In addition, Plaintiffs will seek court

 approval of a proposed notice plan after the adjudication of the Motion for Class Certification.

             Dated: July 25, 2016

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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the
 Court’s CM/ECF system on July 25, 2016, and will be served on all counsel of record through the
 ECF system.

                                            /s/ Seth M. Lehrman
                                            Seth M. Lehrman 




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